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            8                             UNITED STATES DISTRICT COURT
            9                            CENTRAL DISTRICT OF CALIFORNIA
          10                                        WESTERN DIVISION
          11       ALLEN L. MUNRO, DANIEL C.                  CASE NO. 2:16-cv-06191
                   WHEELER, EDWARD E.
          12       VAYNMAN, JANE A. SINGLETON,                [PROPOSED] ORDER GRANTING
                   SARAH GLEASON, REBECCA A.                  JOINT STIPULATION REGARDING
          13       SNYDER, DION DICKMAN, COREY                CLASS CERTIFICATION EXPERT
                   CLARK, and STEVEN L. OLSON,                DESIGNATION DEADLINES
          14
                                      Plaintiffs,
          15
                         v.
          16
                   UNIVERSITY OF SOUTHERN
          17       CALIFORNIA, USC RETIREMENT
                   PLAN OVERSIGHT COMMITTEE,
          18       and LISA MAZZOCCO,
          19                          Defendants.
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Gibson, Dunn &
Crutcher LLP          [PROPOSED] ORDER GRANTING JOINT STIPULATION REGARDING CLASS CERTIFICATION EXPERT
                                                   DESIGNATION DEADLINES
                 Case 2:16-cv-06191-VAP-E Document 83 Filed 02/02/18 Page 2 of 3 Page ID #:920


            1            Plaintiffs Allen Munro, Daniel C. Wheeler, Edward E. Vaynman, Jane A.
            2      Singleton, Sarah Gleason, Rebecca A. Snyder, Dion Dickman, Corey Clark, and
            3      Steven L. Olson (“Plaintiffs”) and Defendants University of Southern California, USC
            4      Retirement Plan Oversight Committee, and Lisa Mazzocco (“Defendants”) have filed a
            5      stipulation to set a schedule for class certification expert designations. This Court,
            6      having considered the stipulation, and finding good cause shown,
            7            HEREBY ORDERS AS FOLLOWS:
            8            1.     Plaintiffs will disclose the names, curriculum vitae, and subject matter
            9      areas of experts to be used in support of their motion for class certification (if any) by
          10       March 5, 2018.
          11             2.     Defendants will disclose the names, curriculum vitae, and subject matter
          12       areas of experts to be used in support of their opposition to class certification (if any)
          13       by April 4, 2018.
          14             3.     If Defendants identify subject matter areas for expert testimony that are
          15       not covered by Plaintiffs’ experts, and/or Plaintiffs do not designate any experts to be
          16       used in support of their motion for class certification, then by May 4, 2018, Plaintiffs
          17       will disclose the names, curriculum vitae, and subject matter areas of their rebuttal
          18       experts (if any).
          19             4.     The deadline to serve all expert reports supporting Plaintiffs’ Motion for
          20       Class Certification is August 6, 2018.
          21             5.     The deadline to serve all expert reports supporting Defendants’
          22       Opposition to Plaintiffs’ Motion for Class Certification is October 1, 2018.
          23             6.     The deadline for Plaintiffs to serve all rebuttal expert reports (if any) is
          24       November 15, 2018.
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Crutcher LLP          [PROPOSED] ORDER GRANTING JOINT STIPULATION REGARDING CLASS CERTIFICATION EXPERT
                                                   DESIGNATION DEADLINES
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            1            7.     The June 29, 2018 class certification discovery cutoff will not apply to the
            2      exchange of expert reports under Rule 26(a)(2) or depositions of experts following the
            3      service of the expert reports. Each expert shall be made available for deposition, and
            4      such deposition shall be completed, within 21 days after service of the expert’s report.
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            6      Dated: February 1, 2018
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                                                                     The Hon. Virginia Phillips
            8                                                        United States District Judge
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Gibson, Dunn &
Crutcher LLP

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